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        Joseph Walker


                                                                      X
                        Eastern District of Pennsylvania

        19-12097




                                                           AMENDED




✔




                          ✔

                                                           Daughter               17
                                                                                             ✔




                                                                                               691.36


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   Joseph Walker                                                19-12097




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       Joseph Walker                                                                   19-12097




           Faxing, printing documents
                                                                                                           2.00




                                                                                                       1,577.36


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✔                      Water bill anticipates Debtor being approved forTAP ; Expenses reduced since Tina sloan
                       passed and daughter's education expenses reduced.
